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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA )

)

)
Vv. ) CR. No. 24-10048-MLW

CRAIG MEDOFF, )

Defendant. )

MEMORANDUM AND ORDER
WOLF, D.d. May 10, 2024

I. BACKGROUND

In this case defendant Craig Medoff is charged with criminal
contempt for knowingly and willfully violating a 2016 injunction
prohibiting him from participating in the offer or sale of
securities for ten years. See Dkt. No. 1. On April 18, 2024, Medoff
filed a motion to dismiss or suppress statements that he made in
connection with the Securities and Exchange Commission's ("SEC")
motion to show cause why he should not be held in civil contempt.
See Dkt. No. 57. Medoff claimed that those statements were induced
by comments made by the court, and that due process and the
doctrine of promissory estoppel require dismissal of this case or,
if it is not dismissed, suppression of the statements. See id. at

1.
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On April 23, 2024, the court denied Medoff's motion to dismiss
or suppress. See Dkt. No. 62 at 3-14.1 Throughout the proceedings
related to the SEC's civil contempt motion, the court repeatedly
informed Medoff that, although it was granting him time to
cooperate with the SEC and try to resolve its motion for civil
contempt, the court was still seriously considering instituting
criminal contempt proceedings. See id. at 7-10. In addition, the
court noted that Medoff had failed to submit an affidavit in
support of his motion, as required by Local Rule 7.1{b) (1), and
had conceded that he could not establish one of the elements of
promissory estoppel. See id. at 5-6, 11. For these reasons, among
others, the court determined that "no reasonable factfinder could
conclude that the court should have expected that Medoff would be
misled to his detriment." Id. at 12. The court, therefore, held
that Medoff's promissory estoppel claim was not meritorious and
denied his motion to dismiss or suppress. See id. at 11-12.

On April 25, 2024, pursuant to the court's April 23, 2024
Order, Medoff's counsel Peter Horstmann provided the Deputy Clerk
two proposed trial exhibits--transcript excerpts of statements
made by the court during hearings on the SEC's motion for civil

contempt. The court inquired into the relevance of Medoff's

1 The April 23, 2024 Memorandum and Order explaining the reasons
for denying the motion to dismiss or suppress is attached hereto
as Exhibit 1.
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proposed exhibits at a hearing held on April 29, 2024. See Apr.
29, 2024 Hr'g Tr. at 18-20 (Dkt. No. 92). Mr. Horstmann responded
that he intends to raise a promissory estoppel defense at trial
and argued that his exhibits were relevant to it. See id. at 18-
19. Mr. Horstmann also contended that his proposed defense raised
an issue for the jury, rather than the court, to decide. See id.
at 19.

The court noted that, despite Mr. Horstmann's stated intent
to present a promissory estoppel defense at trial, he had failed
to file--by April 16, 2024, as previously ordered, see Dkt. No. 44
{@3--a proposed jury instruction concerning his promissory estoppel
defense, or any other proposed instruction specific to the charge
in this case. See Apr. 29, 2024 Hr'g Tr. at 19. Therefore, the
court ordered Mr. Horstmann to file a proposed promissory estoppel
jury instruction, accompanied by a memorandum identifying the
evidentiary basis for admitting his proposed exhibits and the
witnesses through whom he planned to introduce them. See id. at
19-20; Dkt. No. 75 5.

On May 3, 2024, Medoff filed a proposed promissory estoppel
jury instruction accompanied by a memorandum of law. See Dkt. No.
81. He has not identified any witnesses through whose testimony
the proposed exhibits would be introduced. Medoff proposes that
the court give the promissory estoppel instruction used by the

Massachusetts Superior Court in civil contract cases. See id. at

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4. He also contends that his proposed exhibits are admissible under
Federal Rule of Criminal Procedure 27, which provides for the means
of proving official records that are otherwise admissible. See id.
at 5; Fed. R. Crim. P. 27 & advisory committee note (incorporating
Federal Rule of Civil Procedure 44); Fed. R. Civ. P. 44 (providing
means for proving official records).

On May 6, 2024, the government reported that it "does not
intend to introduce as part of its case-in-chief at trial any
statements made by the defendant or documents provided by the
defendant in connection with the civil contempt proceedings.” Dkt.
No. 82 at 1. Therefore, the government stated that "the issues
raised in the defendant's memorandum are moot." Id.

For the reasons explained in this Memorandum, the court finds
that Medoff's proposed exhibits are inadmissible and that there is
not a proper basis for giving his proposed jury instruction.

II. DISCUSSION

Medoff asks that the court give the jury an instruction based
on Massachusetts contract law concerning promissory estoppel. See
Dkt. No. 81 at 4. He cites a Massachusetts Superior Court civil
jury instruction for the elements of estoppel:

To make out a claim for promissory estoppel, one must prove
that "(1) [Defendant] made a representation [to Plaintiff]
intended to induce reliance on the part of [Plaintiff]; (2)
an act or omission by [Plaintiff] in reasonable reliance on
the representation; and (3) detriment [on the part of
Plaintiff] as a consequence of the act or omission." Anzalone
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v. Admin. Office of the Trial Court, 457 Mass. 647, 661 (2010)
(citations omitted).

Id. at 4 (alterations in original) (quoting Mass. Super. Ct., Civil
Instructions: Contract Claims 6 n.12 (Mar. 1, 2021),
https: //www.mass.gov/doc/superior-court-model-civil-jury-
instructions-contract-claims-pdf/download) .?

In his memorandum in support of his proposed jury instruction,
Medoff does not cite a single federal or state case supporting the
contention that a jury should decide the issue of promissory
estoppel in a criminal case. In this case, Medoff's proposed
promissory estoppel defense raises an issue of law and there are
no material facts concerning it that a jury could properly be asked
to decide.

In his unmeritorious motion to dismiss or suppress based on
promissory estoppel, Medoff characterized his claim as being made
"pursuant to the due process clause of the Fifth Amendment." Dkt.
No. 57 at 1. As the First Circuit has written, a "due process claim

is for the court not the jury." United States v. Bradley, 820 F.2d

3, 7 n.5 (lst Cir. 1987) (citing United States v. Johnson, 565

F.2d 179, 182 (1st Cir. 1977)). In Johnson--where the First Circuit

considered a defendant's request for a novel due process-based

2 This iteration of the elements for proving promissory estoppel
is the same as the standard in Sullivan v. Chief Just. for Admin.
& Mgmt. of Trial Ct., 858 N.E.2d 699, 711 (Mass. 2006), which the
court employed in denying Medoff's motion to dismiss or suppress.
See Dkt. No. 62 at 4, 11-12.

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fundamental fairness jury instruction--the court stated that
"[t]here is no support . . . for placing the question of
fundamental fairness before the jury." Johnson, 565 F.2d at 181.
The court explained, "[t]he jury is not equipped and should not be
permitted to speculate on whether particular facts do or do not
amount to fundamental fairness." Id. at 182. Therefore, the First
Circuit held that "the [district] court properly rejected the
proposed instruction." Id. at 182. Similarly, the First Circuit
subsequently held that "[o]utrageous government conduct"--another
due process-based claim--"is an issue of law and it is the province
of the district court - and not the jury - to rule on a defendant's

motion to dismiss on that ground." United States v. Luisi, 482

F.3d 43, 58 (1st Cir. 2007) (citing Bradley, 820 F.2d at 7 n.5).3

It was proper for this court to decide before trial the due
process-based promissory estoppel claim raised in Medoff's motion
to dismiss or suppress. The issue was a question of law. Federal

Rule of Criminal Procedure 12(b)(3) requires that criminal

3 The two cases Medoff relied on in his motion to dismiss or
suppress are consistent with the conclusion that promissory
estoppel is not in a criminal case an issue for the jury. In United
States v. Enciso-Montero, the Ninth Circuit affirmed the denial of
a defendant's motion to dismiss based on a claim that the
government should have been equitably estopped from prosecuting
him based on an immigration judge's statements. 1991 WL 66279, at
*1 (9th Cir. Apr. 30, 1991). Similarly, in Pirela _v. Horn, the
Third Circuit denied a 28 U.S.C. §2254 petitioner claiming that a
state judge's comments improperly induced him to waive his right
to a jury trial. 710 Fed. App'x 66, 75-78 (3rd Cir. 2017). In
neither case was the promissory estoppel issue presented to a jury.

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defendants raise defenses in a pretrial motion if the motion can
be decided without a trial on the merits. In this case, the
evidence of whether the court improperly induced Medoff to make
his statements in the SEC's case for civil contempt is entirely
separate from the evidence that will be presented at trial in the
government's case-in-chief to prove that Medoff unlawfully
violated the 2016 injunction.’ Therefore, the issue was amenable
to being decided on the motion to dismiss or suppress. Moreover,
Rule 12(d) states that "[t]he court must decide every pretrial
motion before trial unless it finds good cause to defer a ruling."
Therefore, the First Circuit has held that a district court must
rule pretrial "on any issue entirely segregable from the evidence

to be presented at trial." United States v. Barletta, 644 F.2d 50,

57-58 {lst Cir. 1981). This is such a case.

The court also properly denied Medoff's request for a hearing
on his motion to dismiss or suppress. As the First Circuit has
written, "'district courts are busy places and makework hearings

are to be avoided.'" United States v. Panitz, 907 F.2d 1267, 1273

(lst Cir. 1990) (brackets omitted) (quoting United States v.

Cannons Engineering Corp., 899 F.2d 69, 94 (1st Cir. 1990)). To

obtain a hearing, a defendant must "make a sufficient threshold

4 As indicated earlier, the government has represented that it does
not intend to offer any statements made by Medoff in the SEC's
civil case at the trial of this criminal case. See Dkt. No. 82.

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showing that material facts [are] in doubt or dispute." Id. at
1273. When material facts are not in dispute, the court has the
discretion to deny a request for an evidentiary hearing. See id.
at 1274. Therefore, the court had the discretion to deny what
Medoff was evidently seeking--merely oral argument on his motion.

As the court wrote in denying the motion to dismiss or
suppress, which included the request for a hearing, Medoff had
previously filed what the court deemed a frivolous motion to recuse
in order to delay the trial then scheduled to begin on April 22,
2024. See Dkt. No. 62 at 13. Indeed, Mr. Horstmann acknowledged
that motion was "maybe" filed for "righteous delay." Id. The court
denied the request for a hearing on the promissory estoppel issue,
explaining that:

The Motion and request for a hearing were not filed until

April 19, 2024. The court finds that this Motion too is

frivolous. There are not material disputed facts that

testimony might contribute to resolving. Argument would only
consume precious judicial time.
Id. at 14.

Medoff's motion for a promissory estoppel jury instruction
might be construed as a motion to reconsider the denial of the
motion to dismiss or suppress. There is not, however, a proper
basis to do so. The First Circuit has identified three
circumstances in which a court may grant a motion to reconsider:

"(1] if the moving party presents newly discovered evidence, [2]

if there has been an intervening change in the law, or [3] if the
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movant can demonstrate that the original decision as based on a

manifest error of law or was clearly unjust." United States v.

Cintron, 724 F.3d 32, 36 n. 5 (1st Cir. 2013) (quoting United

States v. Allen, 573 F.3d 42, 53 (lst Cir. 2009)). A court should

not grant a motion to reconsider when the evidence offered in the
motion to reconsider was available to the movant "at the time the
original motion was filed." Allen, 573 F.3d at 54. The only new
evidence offered in support of Medoff's request for a promissory
estoppel instruction is Medoff's affidavit. Medoff could have,
and, as required by Local Rule 7.1(b) should have, submitted this
affidavit when he filed his motion to dismiss or suppress, but he
did not. There has not been a change in the law, and the denial of
the motion to dismiss or suppress was neither erroneous nor unjust.
Therefore, Medoff has not established a basis for the court to
reconsider its denial of his motion.

However, in the interest of completeness and to assist the
First Circuit if the defendant is convicted and it considers this
matter on appeal, the court adds the following. Medoff has filed
an affidavit in support of his request for a jury instruction
concerning promissory estoppel consistent with Massachusetts
contract law. As indicated earlier, Medoff correctly notes that
under Massachusetts law:

To make out a claim for promissory estoppel, one must prove
that "(1) [Defendant] made a representation [to Plaintiff]
intended to induce reliance on the part of [Plaintiff]; (2)

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an act or omission by [Plaintiff] in reasonable reliance on
the representation; and (3) detriment [on the part of
Plaintiff] as a consequence of the act or omission." Anzalone
v. Admin. Office of the Trial Court, 457 Mass. 647, 661 (2010)
(citations omitted).

Dkt. No. 81 at 4 (bracketed alterations in original) (emphasis
added).

In his affidavit, Medoff states that "the following
statements of the district court induced me to cooperate with the
SEC, sit for a deposition and submit an affidavit." Dkt. No. 81-1
fl. Medoff then excerpts a few of the many statements that the
court made regarding its willingness to allow Medoff and the SEC
to try to resolve the SEC's motion for civil contempt, despite its
belief that it appeared to be appropriate to institute criminal
contempt proceedings. Medoff also states that he "relied on the
Court's invitation and involuntarily waived 5th Amendment rights
by sitting for a deposition and signing an affidavit." Id. {2.
This affidavit does not put facts material to the motion to dismiss
or suppress in dispute and, therefore, does not alter the court's
determination that a hearing on the motion to dismiss or suppress
was not necessary.

Medoff does not explicitly allege that the court intended to
induce him to cooperate with the SEC in the civil contempt case.
If Medoff is suggesting that the court intentionally induced him
to cooperate, that claim is inconsistent with what he wrote in the

memorandum supporting his motion to dismiss or suppress. There,

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Medoff wrote that "the district court apparently did not intend to
induce reliance as a pathway for avoiding criminal contempt." Dkt.
No. 57 at 5. If this possible inconsistency existed before the
motion to dismiss or suppress had been decided and was material,
the court would have conducted an evidentiary hearing at which
Medoff would have been required to testify or have his affidavit

struck. See United States v. Baskin, 424 F.3d 1, 3 (lst Cir. 2005).

However, it is not material.

For the reasons described in detail in the Memorandum denying
the motion to dismiss or suppress, when viewed in the context of
all of the court's written and oral statements in the SEC's case
seeking an order of civil contempt, a factfinder could not conclude

that any actual reliance by Medoff was reasonable. See Dkt. No. 62

at 6-12.
In addition, even if the court intended to induce Medoff to

make the statements at issue and Medoff reasonably relied on the

court's comments in making these statements, he has not and will
not suffer any detriment because the government does not intend to
offer any of the statements at issue in its case-in-chief. See
Dkt. No. 82. Therefore, the motion to dismiss or suppress would
have been properly denied without a hearing even if Medoff had
presented his affidavit in support of it.

There would also be another deficiency in Medoff's request

for a promissory estoppel jury instruction if that question was

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within the province of the jury. " A criminal defendant is entitled
to a jury instruction on any theory providing a legal defense to
the charge against him, assuming there is evidence in the record

supporting it.” United States v. Silvestri, 790 F.2d 186, 192 (lst

Cir. 1986). Even assuming, without suggesting, that promissory
estoppel could be a defense at trial rather than an issue of law
for the court, it has been repeatedly represented that Medoff does
not intend to testify at trial. More specifically, at the April
29, 2024 hearing Mr. Horstmann stated that Medoff "is not likely
to testify" at trial. Apr. 29, 2024 Hr'g Tr. 18:2-9. On May 7,
2024, Mr. Horstmann reported that "he does not presently intend to
call any witnesses at trial." Dkt. No. 87. Absent testimony by
Medoff, subject to cross-examination, on the elements of
promissory estoppel, the two transcripts Medoff's proposes to
introduce into evidence would be inadmissible for several reasons
if the issue was one to be decided by the jury.

Medoff argues that his proposed exhibits "are admissible
under Rule 27 as official court records." Dkt. No. 81 at 5. He is
incorrect. Federal Rule of Criminal Procedure 27 ("Rule 27")
relates to the means of proving an official record; it does not

relate to the admissibility of an official record. See Fed. R.

Crim. P. 27. Indeed, Federal Rule of Civil Procedure 44, which
Rule 27 incorporates into the Federal Rules of Criminal Procedure,

provides for the means of proving official records "that _ [are]

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otherwise admissible." Fed. R. Civ. P. 44(a)(1) (emphasis added).

Neither Rule 27 nor Federal Rule of Civil Procedure 44 provide for

an independent basis to admit an official record. See United States

v. Verville, 355 F.2d 527, 530 n.5 (7th Cir. 1965). Medoff has not

identified any other basis--or cited to any Federal Rule of
Evidence--for admitting his proposed exhibits.

Moreover, as explained earlier, because the issue of whether
conduct violates a defendant's right to due process is to be
decided by the court, and because there are not relevant facts in
dispute that require an evidentiary hearing or resolution at trial,

the documents are irrelevant to anything the jury can be properly

asked to decide. See Fed. R. Evid. 401(b) ("Evidence is relevant
if... the fact is of consequence in determining the action."”).
III. ORDER

In view of the foregoing, Medoff's request for a promissory
estoppel jury instruction and the introduction of related exhibits

is hereby DENIED.

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